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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         EASTERN DISTRICT OF ARKANSAS

PATRICIA WALKER-SWINTON                                                                PLAINTIFF

V.                               CASE NO. 4:18-CV-886 (KGB)

PHILANDER SMITH COLLEGE; AND                                                       DEFENDANTS
DR. RODERICK SMOTHERS, SR., PRESIDENT,
IN HIS INDIVIDUAL AND OFFICIAL CAPACITY;
AND DR. ZOLLIE STEVENSON, JR.,
VICE-PRESIDENT, ACADEMIC AFFAIRS,
IN HIS INDIVIDUAL AND OFFICIAL CAPACITY

                                 JOINT RULE 26(f) REPORT

       Plaintiff Patricia Walker-Swinton, through counsel, and Defendants Philander Smith

College (PSC or College), Dr. Roderick Smothers, Sr., President (Smothers), and Dr. Zollie

Stevenson, Jr., Vice President, Academic Affairs (Stevenson), by their attorneys, CROSS,

GUNTER, WITHERSPOON & GALCHUS, P.C., submit the following information in compliance with

Rule 26(f) of the Federal Rules of Civil Procedure and Local Rule 26.1. The Parties began their

Rule 26(f) exchanges by email beginning on May 17, 2019, and have since prepared this Joint

Rule 26(f) Report for the Court’s review.

                        PLAINTIFF’S PRELIMINARY STATEMENT

       Plaintiff is opposed to inclusion of Defendant’s preliminary statement in the 26(f) Report

- which is repetitive of pleadings reflected in the Courts’ Docket Report and previous arguments

exhausted within pleadings. The Court is aware of same. Also, Plaintiff is opposed to

“trifurcating” and/or “staying” these proceedings. Moreover, Defendants fail to cite authority for

trifurcation. Plaintiff posits the joint report identify dates –conflicting with the Courts’ proposed

dates and include subjects which the Court is unaware and not included in its Proposed Final

Scheduling Order, if any, which advances the just, speedy and efficient resolution of disputes.

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                      DEFENDANTS’ PRELIMINARY STATEMENT

        Defendants respectfully request that the Court enter a modified scheduling order

trifurcating these proceedings into three distinct phases—the first phase culminating after the

Court rules on the pending Motions; the second phase beginning with discovery and culminating

with the Court’s decision on Defendants’ anticipated motion for summary judgment; and the

third phase, if the Complaint survives summary judgment, beginning with pre-trial matters and

culminating with the trial. Due to the nature of these proceedings, this departure from the typical

scheduling order has proven necessary to preserve the Court’s and parties’ scarce judicial

resources.

        The docket has already reached a critical mass of pending motions—some filed nearly

five months ago—that raise fundamental questions about the legitimacy of this this action.

Specifically, there are ten motions (ECF Nos. 4, 7, 10, 14, 18, 21, 29, 32, 33 & 36)—each fully

briefed—awaiting the Court’s review:

ECF #          FILING                                              DATE FILED
4&5            Defendants’ Motion to Disqualify Counsel and        December 21, 2018
               to Strike Complaint as a Nullity
7&8            Defendants’ Motion to Dismiss Complaint (on         December 21, 2018
               behalf of PSC and Smothers)
10             Plaintiff’s first Motion for Extension of Time      January 4, 2019
               (to File Response to ECF Nos. 4–5 & 7–8)
12             Defendants’ Response in Opposition to Motion        January 4, 2019
               for Extension
13             Plaintiff’s Reply in Support of Motion for          January 9, 2019
               Extension
14 & 15        Defendants’ Motion to Strike Reply                  January 10, 2019
16 & 17        Plaintiff’s Response in Opposition to Motion to     January 18, 2019
               Disqualify Counsel and to Strike Complaint as a
               Nullity
18             Plaintiff’s second Motion for Extension of Time     January 18, 2019
               (to File Response to ECF Nos. 7–8)
19 & 20        Plaintiff’s Response in Opposition to Motion to     January 22, 2019
               Dismiss (PSC & Smothers)
21 & 22        Defendants’ Motion to Dismiss Complaint (on         January 22, 2019
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               behalf of Stevenson)
23 & 24        Plaintiff’s Response in Opposition to Motion to    January 24, 2019
               Strike
25 & 26        Plaintiff’s Response in Opposition to Motion to    February 5, 2019
               Dismiss (Stevenson)
29 & 30        Defendants’ Motion for Order to Show Cause         March 11, 2019
32             Plaintiff’s third Motion for Extension of Time     March 23, 2019
               (to file Response to Motion for Order to Show
               Cause)
33             Plaintiff’s fourth Motion for Extension of Time    April 2, 2019
               (to file Response to Motion for Order to Show
               Cause)
34 & 35        Plaintiff’s Response in Opposition to Motion to    April 5, 2019
               Show Cause)
36             Plaintiff’s Motion to Amend Complaint              April 16, 2019
38 & 39        Defendants’ Response in Opposition to Motion       April 30, 2019
               to Amend Complaint

As demonstrated, this lawsuit has and will continue to require significant amounts of the Court’s

attention. Trifurcating these proceedings will allow the Court and the parties ample time between

each major phase of litigation to address dispositive motions before the necessity of incurring

additional costs. This request is made in an earnest attempt to avoid the cost, burden, and

expense associated with preparing for trial during the pendency of the Court’s consideration of

the pending Motions and Defendants’ anticipated summary judgment motion in the event that the

Complaint survives dismissal.

       Pragmatically, trifurcation will have little consequence to the parties beyond alleviating

them of the potential expenditure of time needed to either prepare for filing deadlines or

otherwise prepare motions for continuances as may be necessary.

       If the Court is not inclined to modify its scheduling order, then Defendants alternatively

propose the modest changes set forth below.




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(1)    ANY CHANGES IN TIMING, FORM, OR REQUIREMENTS OF MANDATORY
       DISCLOSURES UNDER FED. R. CIV. P. 26(a).

       Plaintiff’s Response: Plaintiff has no changes in timing, form or requirements of

mandatory disclosures under F.R.C.P. 26(a)(1)(C). Plaintiff contends that because there is no

Order to Stay discovery should proceed. If Defendants contest any discovery requests initiating a

dispute-which cannot be resolved between the parties - after good faith efforts have been made-

the parties may file a motion for order of Court intervention. Plaintiff does not expect any tetchy

discovery disputes.

         Defendants’ Response: Defendants refer to their Preliminary Statement and suggest that

mandatory disclosures should not be required until the Court rules on the pending dispositive

motions.

(2)    DATE WHEN MANDATORY DISCLOSURES WERE OR WILL BE MADE.

       Plaintiff’s Response: Plaintiff agrees that Initial Disclosures mandated by Rule 26(a)(1)

shall be provided by June 30, 2019. Plaintiff has no objections with the Court’s proposed

Disclosure of expert testimony must be provided by January 13, 2020. Plaintiff has no

objections with the Court’s proposed Pretrial expert disclosures, including reports will be made

by.

       Defendants’ Response:

       (a)      Either thirty days after the Court rules on the pending dispositive motions, or

                June 10, 2019, whichever occurs later.

       (b)      Plaintiff’s disclosures of expert discovery will be made on or before October 15,

                2019. Defendants’ disclosures of rebuttal or contradictory disclosures of expert

                discovery will be made on or before November 15, 2019.



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       (c)     Pretrial disclosures will be made as required by Rule 26(a)(3) and the Final

               Scheduling Order to be entered by the Court.

(3)    SUBJECTS ON WHICH DISCOVERY MAY BE NEEDED.

       The subjects of discovery will include the allegations, causes of action, defenses, and

alleged damages raised in the Parties' pleadings. The discovery will be secured by written

discovery and depositions of the Parties, including but not limited to liability and damages

witnesses, including Plaintiffs’ experts, if any, any experts identified by Defendants, and any

other third parties identified as having knowledge of relevant facts. The Parties further anticipate

conducting discovery regarding the parties’ post-termination conduct.

(4)    WHETHER ANY PARTY WILL LIKELY BE REQUESTED TO DISCLOSE OR
       PRODUCE INFORMATION FROM ELECTRONIC OR COMPUTER-BASED
       MEDIA.

       The Parties may be requested to disclose or produce information from electronic or

computer-based media, including from the Parties’ mobile devices.

       (a)     Whether disclosure or production will be limited to data reasonably available
               to the parties in the ordinary course of business;

               Disclosure or production will be limited to data reasonably available to the Parties

               in the ordinary course of business.

       (b)     The anticipated scope, cost and time required for disclosure or production of
               data beyond what is reasonably available to the parties in the ordinary
               course of business;

               Defendants state that, excluding production of documents from third parties, such

               as records requested of former employers, they do not anticipate at this time that

               there will be any cost or time required for disclosure or production of data beyond

               what is reasonably available to the Parties in the ordinary course of business.



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       (c)     The format and media agreed to by the parties for the production of such
               data as well as agreed procedures for such production;

               The Parties will confer in good faith regarding how such information shall be

               produced, if requested and required. The Parties may be requested to produce or

               make available for inspection social media records, personal email records, and

               data from their mobile phones.

         (d)   Whether reasonable measures have been taken to preserve potentially
               discoverable data from alteration or destruction in the ordinary course of
               business or otherwise;

               The Parties have taken reasonable measures to preserve potentially discoverable

               data from alteration or destruction in the ordinary course of business.

         (e)   Other problems which the parties anticipate may arise in connection with
               electronic or computer-based discovery.

               The Parties do not anticipate any other problems in connection with electronic or

               computer-based discovery at this time.

(5)    DATE BY WHICH DISCOVERY SHOULD BE COMPLETED.

       Plaintiff’s Response: Plaintiff has no objections with the Court’s proposed date that all

discovery should be completed by February 26, 2020.

       Defendants’ Response: The deadline on which to complete discovery should be

established after the Court rules on the pending dispositive motions. In the event that the Court is

not inclined to trifurcate these proceedings, Defendants request that the discovery deadline be set

for December 11, 2019. This is a single-plaintiff employment lawsuit and discovery, so long as

the Parties and their attorneys operate in good faith, will not require more than eleven months—

as currently proposed—to complete. This deviation from the Court’s proposed final scheduling

order is requested so as to provide the Court with ample opportunity to consider the Parties’

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anticipated dispositive motion(s). Allowing the Court ample opportunity to consider dispositive

motions (which necessarily requires the discovery cutoff to be set at December 11, 2019 absent

trifurcation) advances the interests of judicial economy and could potentially obviate the need for

the Parties to incur the additional costs and burdens of preparing for trial. As such, if the Court

does not trifurcate these proceedings, Defendant requests a modest alteration of the Court’s

standard scheduling order, with December 11, 2019 as the discovery cutoff date.

(6)    ANY NEEDED CHANGES IN LIMITATIONS IMPOSED BY THE FEDERAL
       RULES OF CIVIL PROCEDURE.

       None.

(7)    ANY ORDERS, e.g., PROTECTIVE ORDERS, WHICH SHOULD BE ENTERED.

       The Parties agree to enter into a mutual stipulated protective order to protect any

documents that contain student information, confidential information, and/or other sensitive

business information. The Parties agree to enter into a mutual stipulated protective order to

protect any of the Parties’ confidential, proprietary, trade secret, or other sensitive information

from the disclosure or use beyond the scope of duration of this pending lawsuit if such

information is requested of either party in discovery. If the Parties cannot reach an agreement,

after good faith efforts have been made, they will request the Court’s assistance.

(8)    ANY OBJECTIONS TO INITIAL DISCLOSURES ON THE GROUND THAT
       MANDATORY DISCLOSURES ARE NOT APPROPRIATE IN THE
       CIRCUMSTANCES OF THE ACTION.

       Plaintiff’s Response: Plaintiff does not contend that initial disclosures are inappropriate

in this action and should be made pursuant to F.R. Civ. P. 26(a)(1)(C)(D).

       Defendants’ Response: Mandatory disclosures should not be required until the Court

rules on the pending Motion to Disqualify and Strike Complaint (ECF Nos. 4–5), as well as the



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pending Motions to Dismiss (ECF Nos. 7–8 & 21–22). If granted, these Motions would obviate

the need for any mandatory disclosures.

(9)      ANY OBJECTIONS TO THE PROPOSED TRIAL DATE AND ESTIMATED
         NUMBER OF SIX-HOUR TRIAL DAYS NEEDED.

         Plaintiff’s Response: Plaintiff has no objections or current conflicts with the Court’s

proposed trial date of the week of May 11, 2020, and they estimate needing up to three days for

trial.

         Defendants’ Response: In the event this matter proceeds beyond the dispositive motion

phase of this litigation, and if the Court is not inclined to trifurcate these proceedings,

Defendants have no objections to the proposed trial date, and they estimate needing up to three

days for trial. Defendants, however, request that the trial date be set after the dispositive motion

phase of this litigation is resolved.

(10)     PROPOSED DEADLINE FOR JOINING OTHER PARTIES AND AMENDING
         THE PLEADINGS.

         Plaintiff’s Response: The proposed deadline for seeking to add additional parties and

amending pleadings shall be as soon as practicable, but in any event, Plaintiff has no objections

with the Court’s proposed deadline of November 18, 2019, unless discovery to amend is needed

and both parties agree to allow those amendments.

         Defendants’ Response: Defendants propose setting the deadline to join other parties and

amend the pleadings for June 15, 2019.

(11)     PROPOSED DEADLINE FOR FILING MOTIONS.

         Plaintiff’s Response: Plaintiff has no objections with the Court’s proposed deadlines for

filing discovery motions, except for class certification and motions in limine, regarding written

discovery, on or before March 12, 2020. Plaintiff has no objections with the proposed deadlines

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for filing Dispositive motions on or before March 12, 2020. Plaintiff has no objections with the

proposed deadlines for filing Non-dispositive motions on or before July 30, 2012. Plaintiff has

no objections with the proposed deadlines for filing in Limine Motions on or before April 27,

2020.

        Defendants’ Response: As discussed in Paragraph 5, in the event the Court is not

inclined to trifurcate these proceedings, Defendants request the following deviation from the

Court’s standard scheduling order for the purposes of judicial economy and efficiency:

        (a)     Daubert Motions: Defendants propose setting the deadline to file motions

                pursuant to Daubert v. Merrell Dow Pharmaceuticals, 509 U.S. 579 (1993), for

                December 18, 2019.

        (b)     Dispositive Motions: Defendants propose setting the dispositive motion deadline

                for January 11, 2020. Responses to Rule 56 motions should be submitted on or

                before January 25, 2020, and Replies (if any) should be submitted on February

                1, 2020.

        (c)     Motions in Limine: Defendants propose setting the Motion in Limine deadline

                for March 12, 2020.

(12)    CLASS CERTIFICATION: IN THE CASE OF A CLASS ACTION COMPLAINT,
        THE PROPOSED DEADLINE FOR THE PARTIES TO FILE A MOTION FOR
        CLASS CERTIFICATION.

        None.

(13)    UNRESOLVED ISSUES.

        Plaintiff’s Response: Plaintiff posits the Court is aware of the pending motions as

reflected in the Docket Sheet. This litigation can proceed if the focus is directed on the resolution




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of the parties conflicts as stated in the Complaint. Further, discovery should not be thwarted

while motions are pending.

       Plaintiff has no objections to the Court’s proposed deadlines for filing pretrial disclosure

sheets (April 20 & 27, 2020) or for requesting a settlement conference (March 27, 2020).

       Defendants’ Response: As discussed above, Defendants request expedited consideration

of the following matters, each of which is fully briefed and ripe for adjudication:

         (a)   Motion to Disqualify and to Strike Complaint: Defendants entered their limited

               appearance on December 21, 2018 for the purposes of filing their Motion to

               Disqualify and to Strike Complaint as a Nullity. ECF Nos. 4 & 5. On January 18,

               2019, Plaintiff’s counsel filed her Response in Opposition. ECF Nos. 16 & 17. In

               the intervening time, Defendants filed a Motion for Show-Cause Hearing (ECF

               Nos. 29 & 30). Defendants submit that this litigation cannot proceed without an

               expedient decision on these pending matters.

       (b)     Motions to Dismiss: There are two pending Motions to Dismiss (ECF Nos. 7–8

               & 21–22) that collectively seek dismissal of Plaintiff’s Complaint on Rule

               12(b)(4) and (5) grounds, and alternatively seek dismissal of Plaintiff’s claims

               against Individual Defendants Smothers and Stevenson, as well as a number of

               untimely and otherwise unexhausted claims asserted in the Complaint against

               PSC on Rule 12(b)(6) grounds. Expedient resolution of these pending Motions

               will allow the parties to narrow the scope of their discovery efforts.

       (c)     Other Motions: There are a number of other pending Motions that require the

               Court’s attention:

               (i)     Plaintiff’s first Motion for Extension (ECF No. 10), which Defendants
                       opposed (ECF No. 12), and to which Plaintiff replied (ECF No. 13);
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                (ii)    Defendants’ Motion to Strike Unauthorized Reply (ECF Nos. 14 & 15),
                        which Plaintiff opposed (ECF No. 23);

                (iii)   Plaintiff’s second Motion for Extension (ECF No. 18);

                (iv)    Defendants’ Motion for Show-Cause Hearing (ECF Nos. 29 & 30), which
                        Plaintiff opposed (ECF Nos. 34 & 35);

                (v)     Plaintiff’s third Motion for Extension (ECF No. 32);

                (vi)    Plaintiff’s fourth Motion for Extension (ECF No. 33); and

                (vii)   Plaintiff’s Motion for Leave to Amend Original Complaint (ECF No. 36),
                        which Defendants opposed (ECF Nos. 38 & 39).

Resolving these matters in expedited fashion will greatly assist the Parties in advancing this

litigation.

         Jointly submitted this 31st day of May, 2019.

PLAINTIFF’S COUNSEL                             DEFENDANTS’ COUNSEL

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